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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                -    -   -   X


UNITED STATES OF AMERICA                                                            SEALED INDICTMENT

                     -   v. -                                                       23 Cr .

MARTIN HANDLER ,
MENACHEM LI EBERMAN ,
HAROLD SCHWARTZ ,
                                                                             23 CRIM                      ·o 4
ISIDORE HANDLER , and
BEN WERCZBERGER ,

                                 Defendants .

-   -   -   -   -    -   -   -    -   -   -   -   -   -    -    -    -   -   X

                                                          Overview

                    1.       From at least in or about 2016 , up to and inc l uding

in or about the present , MARTIN HANDLER , MENACHEM LIEBERMAN , HAROLD

SCHWARTZ ,          ISIDORE HANDLER ,                     and BEN WERCZBERGER ,               the defendants ,

participated in schemes to corrupt government - funded daycares in

New York City and to steal millions of dollars intended for low-

income families .

                    2.       In particular ,                    as       part of these        schemes ,   MARTIN

HANDLER and MENACHEM LIEBERMAN ,                                     the defendants ,         have at various

times       secretly             " owned"         and          embezzled         funds   from    a   non - profit

daycare provider (" Daycare Provider - 1 " ) , and , together with HAROLD

SCHWARTZ ,          ISIDORE HANDLER ,                     and BEN WERCZBERGER ,               the defendants ,

stolen from and defrauded the City of New York ' s Administration

for Children ' s Services ("ACS " ) and the U. S . Department of Health

and Human Services (" HHS " ) .
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                    3.      The means and methods employed to carry out the

     schemes included , but were not l imited to :

                            a.    Fraudulently claiming reimbursement from ACS

     for   the     enrollment     of children in a             fake       after - school program

     purportedly operated by Daycare Provider - 1 , resulting in the theft

     of more than approximately $1 , 000 , 000 , by MARTIN HANDLER , MENACHEM

     LIEBERMAN , HAROLD SCHWARTZ , and ISIDORE HANDLER , the defendants ;

                            b.    The       defrauding of HHS             by    concealing MARTIN

     HANDLER ' s     and    LIEBERMAN ' s      ownership      of    Daycare         Provider - 1    and

     Daycare       Provider - l ' s    entrance     into      multiple           non- arm ' s    length

     dealings      with     for - profit      daycare    centers          and    other    businesses

     owned by MARTIN HANDLER and LIEBERMAN ;

                            c.    The       falsification      of     a    document       by    MARTIN

     HANDLER ,      LIEBERMAN ,       SCHWARTZ ,   and       ISIDORE       HANDLER ,      which     was

     submitted to          HHS   in    response    to   an    investigation by HHS                 into

     Daycare       Provider - l ' s    relationship        with     LIEBERMAN          and      Daycare

     Provider- l ' s oversight of federal funds ;

                            d.    Theft by MARTIN HANDLER and BEN WERCZBERGER ,

     the defendants , of at least approximately $2 . 8 million of federal

     funding       intended      for    a    for-profit       daycare           company      ("Daycare

     Provider- 2" ) owned by MARTIN HANDLER , so that MARTIN HANDLER could

     repay a debt to WERCZBERGER , and the providing to family members

     of WERCZBERGER of no - show jobs at Daycare Provider- 2 ; and


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                      e.      Theft      by     MARTIN           HANDLER    of      at     least

approximately $1 . 8 mil li on from Daycare Provider - 2 so that MARTIN

HANDLER could purchase real estate ,                      repay loans ,     buy historical

artifacts at auction , and purchase a luxury vehicle .

             The Defendants , Related Entities , and Victims

             4.       Daycare       Provider - 1     is    organized as       a    non - profit

corporation .           Daycare       Provider - 1        annually     receives         tens   of

millions    of      dollars    in     funding       from    HHS    intended       for    Daycare

Provider - 1 to provide childcare services to low- income families

pursuant     to     HHS ' s   Head    Start     and       Early    Head    Start    programs .

Daycare Provider - 1 has been granted such government funding by

representing to HHS , among other things , that Daycare Provider - 1

is a non - profit entity that has controls in place to guard against

fraud ,   waste ,    and abuse of federal                 funding ,   including to avoid

Daycare Provider - 1 from entering related- party transactions with

companies owned and ope r ated by Daycare Provider - l ' s management .

Daycare Provider - 1 operates daycare centers in Brooklyn and the

Bronx .

             5.       MARTIN HANDLER ,        the defendant ,          was the executive

director of Daycare Provider - 1 between in or about December 2010

and in or about March 201 7 .                 After March 201 7 ,           MARTIN HANDLER

secretly     owned         Daycare     Provider - 1 ,       an     ostensible      non- profit

corporation without any legally recognized owners , meaning MARTIN

HANDLER exercised control over its operations and expenditure of
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government funding , and privately profited from such control .                         In

addition to secretly owning Daycare Provider - 1 , MARTIN HANDLER has

publicly      owned    multiple ,        additional        for - profit        childcare

providers , including Daycare Provider-2 , which was incorporated in

or about 2017 .

              6.   Daycare     Provider - 2   is    organized as          a   for - profit

corporation .      Daycare     Provider - 2      operates       daycare       centers   in

Westchester County , the Bronx , and Brooklyn , and it maintains an

administrative office in the Bronx .

              7.   MENACHEM LIEBERMAN , the defendant , bought a secret

ownership interest in Daycare Provider - 1 from MARTIN HANDLER , the

defendant ,    in or   about    April     2019 ,   by agreeing       to       pay MARTIN

HANDLER approximately $1 . 5 million .             LIEBERMAN and HANDLER were

secret co - owners of Daycare Provider - 1 until in or about August

2021, when LIEBERMAN purchased MARTIN HANDLER ' S remaining stake in

Daycare Provider-1 by agreeing to pay MARTIN HANDLER approximately

$3 . 2 million.       LIEBERMAN    has    also     owned    a    for-profit      daycare

("Daycare Provider - 3 " ) in New York City since in or about 2014 .

              8.   Daycare     Provider - 3   is    organized as          a   for-profit

corporation .      Daycare     Provider - 3      operates       daycare       centers   in

Brooklyn .

              9.   HAROLD SCHWARTZ ,       the defendant ,        had the title of

executive director of Daycare Provider - 1 from approximately March

2017 up to and including at least in or about August 2021 .
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              10 .    ISIDORE HANDLER,           the defendant ,           is the brother of

MARTIN HANDLER and , at various times relevant to this Indictment ,

has purported to provide compliance consulting services to Daycare

Provider - 1 .

              11.     BEN    WERCZBERGER ,           the     defendant,         is    a    business

partner of MARTIN HANDLER ,                the defendant ,            and co-investor with

MARTIN HANDLER in real estate .               WERCZBERGER served as the initial

chair of the board of Daycare Provider - 2 , certifying in writing he

was       "fully     knowledgeable          of         the        Head     Start          regulatory

requirements ," and has loaned HANDLER millions of dollars .

              12.     ACS    is    an    agency      of     the    City of New York             that

coordinates and funds vouchers with monetary value for families

and     children      who      are      eligible       for        subsidized         care .     ACS

administers the voucher program from its offices in New York , New

York.      The ACS voucher program is funded through a federal block

grant .

              13 .    HHS    is an agency of the executive branch of the

United States         and    administers         the       federal       Head Start        program ,

serving children between 3 and 5 years old , and the federal Early

Head      Start    program ,      serving    pregnant             women   and    families       with

children under age 3 .               Head Start and Early Head Start are free ,

federally - funded          programs      designed           to    provide      childcare        and

promote school readiness for children from low- income families .


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In New York City , these programs are administered by a component

of HHS located in New York , New York .

                             COUNT ONE
   (Conspiracy to Commit Wire Fraud - MARTIN HANDLER, LIEBERMAN,
                    SCHWARTZ, ISIDORE HANDLER}

             The Grand Jury charges :

             14 .   The    Grand        Jury       incorporates         the      allegations

contained in paragraphs 1 through 13 of this Indictment as though

fully set forth herein .

             15 .   As descr i bed further below ,               from in or about July

2020 ,   up to and includ i ng the present ,               MARTIN HANDLER , MENACHEM

LIEBERMAN , HAROLD SCHWARTZ , and ISIDORE HANDLER ,                          the defendants ,

conspired     to    and   did   (a)     create      a   fake     after - hours     childcare

program at     a    daycare     center operated by             Daycare        Provider - 1 on

Church Avenue in the East Flatbush neighborhood of Brooklyn (the

" Church Avenue Location" ) ;           (b)    "enroll " children in that after -

hours    program who      did    n ot   in     fact     attend    the    daycare     center ;

(c) obtain funding from ACS for those children who did not in fact

attend the daycare center by falsely representing to ACS that the

children were " enrolled"             in the program ;         and    ( d)     conceal their

fraud from discovery by regulators and law enforcement .

                                 Statutory Allegations

             16 .    From at     least        in or about        July 2020 ,      up to and

including in or about the present , in the Southern District of New

York and elsewhere ,          MARTIN HANDLER ,          MENACHEM LIEBERMAN ,          HAROLD
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SCHWARTZ ,    and ISIDORE HANDLER ,         the defendants ,        and others known

and   unknown ,      willfully      and    knowingly      did    combine ,   conspire ,

confederate , and agree together and with each other to commit wire

fraud , in violation of Title 18 , United States Code , Section 1343 .

              17 .    It was a part and object of the conspiracy that

MARTIN HANDLER , MENACHEM LIEBERMAN , HAROLD SCHWARTZ , and ISIDORE

HANDLER ,    the     defendants ,   and    others    known      and unknown ,   having

devised and intending to devise a scheme and artifice to defraud ,

and   for    obtaining      money    and   property       by    means   of   false   and

fraudulent pretenses , representations , and promises , would and did

transmit and cause to be transmitted by means of wire , radio , and

television      communication        in    interstate      and     foreign   commerce ,

writings , signs , signals , pictures , and sounds for the purpose of

executing such scheme and artifice ,                 in violation of Title           18 ,

United      States     Code ,   Section     1343 ,   to    wit ,    MARTIN    HANDLER ,

LIEBERMAN , SCHWARTZ , and ISIDORE HANDLER agreed to make and caused

to be made false statements to ACS that Daycare Provider - 1 was

providing childcare services to various enrolled children at the

Church Avenue Location , despite knowing that the children were not

enrolled or receiving services there ,                 did so to obtain payment

from ACS for the value of childcare vouchers ,                     and furthered the

scheme by exchanging interstate phone communications .

              (Title 18 , United States Code , Section 1349 . )


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                                   COUNT TWO
                    (Aggravated Identity Theft - LIEBERMAN)

     The Grand Jury further charges :

             18 .    The     Grand       Jury       incorporates        the      allegations

contained in paragraphs 1 through 13 , and 15 , of this Indictment

as though fully set forth herein .

             19 .    From at      least    in or abo u t           July 2020 ,    up to and

including in or about the present , in the Southern District of New

York and elsewhere , MENACHEM LIEBERMAN ,                    the defendant ,       knowingly

did transfer , possess , and use , wi thout lawful authority , a means

of identification of another person , during and in relation to a

felony    violation        enumerated      in       Title   18 ,    United    States   Code ,

Section    1028A(c) ,       to   wit ,    LIEBERMAN         without     lawful     authority

forged the signature of HAROLD SCHWARTZ in documents submitted to

ACS in furtherance of the wire fraud conspiracy charged in Count

One of this Indictment .

   (Title 18 , Un i ted States Code , Sections 1028A(a) (1) and 2 . )

                            COUNT THREE
    (Conspiracy to Defraud the United States - MARTIN HANDLER,
                            LIEBERMAN)

     The Grand Jury further charges :

             20 .    The     Grand       Jury       incorporates        the      allegations

contained in paragraphs 1 through 13 , and 15 , of this Indictment

as though fully set forth herein .



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               21 .    From at least in or about 2015 , up to and including

in or about the present , Daycare Provider - 1 has been the recipient

of a particular grant issued by HHS ,                       pursuant to which Daycare

Provider - 1 is expected to partner with , and issue annual payment

of millions of dollars of federal funds to ,                        other entities that

themselves are to prov i de daycare services that meet Head Start

standards .      Daycare Provider-1 is obligated to abide by statutory

and regulatory standards              that prohibit            Daycare     Provider - 1   from

entering into less - than- arm ' s length partnerships with third-party

child~are providers .

              22 .    From at least in or about 2016 , up to and including

in or about the present , MARTIN HANDLER and MENACHEM LIEBERMAN ,

the   defendants ,       agreed     to     and   did      conceal       their   ownership     of

Daycare Provider-1 to circumvent this prohibition on less - than-

arm ' s    length     dealings .         Daycare       Provider - 1 ,    under   the    secret

ownership       of    MARTIN       HANDLER       and     LIEBERMAN ,       entered     into    a

partnership with          Daycare        Provider - 2 ,     which   is     owned by MARTIN

HANDLER , and pursuant to that partnership issued monthly payments

to Daycare Provider - 2 totaling millions of dollars funded by the

federal government .           Daycare Provider - 1 similarly entered into a

partnership with Daycare Provider-3 , which is owned by LIEBERMAN ,

and pursuant to that partnership issued monthly payments to Daycare




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Provider-3       totaling millions          of dollars        funded    by    the      federal

government .

                                STATUTORY ALLEGATIONS

               23 .   From in or about 2017 ,            up to and including in or

about    the    present ,     MARTIN     HANDLER and MENACHEM LIEBERMAN ,                  the

defendants , and others known and unknown ,                   knowingly did combine ,

conspire , confederate , and agree together and with each other to

defraud the United States and an agency thereof , to wit , HHS , in

violation of Title 18 , United States Code , Section 371 .

               24 .   It was a part and object of the conspiracy that

MARTIN HANDLER and MENACHEM LIEBERMAN , the defendants , and others

known and unknown , would and did defraud the United States , and an

agency    thereof ,      by    impairing ,      obstructing ,     and    defeating         the

lawful functions         of HHS ,      to wit ,    HHS ' s   function to ensure that

recipients of         funding    for    the Head Start and Early Head Start

programs have in place procedures and practices to "guard against

personal or financial conflicts of interest " pursuant to 42 U. S . C.

§   9839 (a) (3) (C) ,   and    that     such     recipients     do ,   in    fact ,    guard

against such conflicts of interest .

                                        Overt Acts

               25 .   In furtherance of the conspiracy , and to effect the

illegal object thereof ,            the following overt acts ,               among others ,

were committed in the Southern District of New York and elsewhere :


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                        a.    In or about 2017 ,             up to and including in or

about Augu st 2021 , MARTIN HANDLER ,                   the defendant caused Daycare

Provider - 1      to     enter     into      non - arm ' s - length        transactions       with

Daycare Provider - 2 for the operation of daycare centers in the

Bronx ,   New        York ,   without     disclosing         to      HHS     his   simultaneous

ownership of Daycare Provider - 1 .

                        b.    In or about April 2019 ,                up to and including

the present ,         MENACHEM LIEBERMAN ,            the    defendant ,       caused Daycare

Provider - 1     to      enter     into      non - arm ' s   length        transactions       with

Daycare      Provider - 3        for   the      operation      of     daycare       centers     in

Brooklyn ,     New York ,        without disclosing to HHS his simultaneous

ownership of Daycare Provider - 1 .

                (Title 18 , United States Code , Section 371 . )

                             COUNT FOUR
  {Conspiracy to Falsify Documents and Records - MARTIN HANDLER,
               LIEBERMAN, SCHWARTZ, ISIDORE HANDLER)

      The Grand Jury further charges :

               26.      The    Grand      Jury        incorporates           the   allegations

contained in paragraphs                1 through 13 ,         15 ,    21 ,    and 22   of     this

Indictment as though fully set forth herein .

               27 .     In or about December 2021 , MARTIN HANDLER , MENACHEM

LIEBERMAN , HAROLD SCHWARTZ , and ISIDORE HANDLER ,                           the defendants ,

and others known and unknown , willfully and knowingly did combine ,

conspire , confederate , and agree together and with each other to


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cornmi t    an offense against the United States ,                  to wit ,   to violate

Title 18 , United States Code , Section 1519 .

               28 .     It was a part and object of the conspiracy that

MARTIN HANDLER , MENACHEM LIEBERMAN , HAROLD SCHWARTZ , and ISIDORE

HANDLER , the defendants , and others known and unknown , would and

did    knowingly         alter ,    destroy ,        mutilate ,    conceal ,   cover    up ,

falsify , and make a false entry in a record and document with the

intent to impede ,           obstruct ,      and influence the investigation and

proper admi nistration of a matter within the                        jurisdiction of a

department and agency of the United States.

                                            Overt Act

               29 .     In furtherance of the conspiracy , and to effect the

illegal object thereof , the following overt act , among others , was

committed in the Southern District of New York and elsewhere :

                        a.      On or about December 21 , 2021, MARTIN HANDLER,

MENACHEM       LIEBERMAN ,       HAROLD     SCHWARTZ ,     and    ISIDORE   HANDLER ,   the

defendants ,      caused Daycare Provider-1 to submit a letter to the

regional HHS           office    in New York ,        New York that      falsely denied

LIEBERMAN ' s         less - than-arm ' s     length     relationship       with   Daycare

Provider - 1 and denied allegations concerning Daycare Provider-l ' s

oversight of federal funds .

                (Title 18 , United States Code , Section 371 . )




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                             COUNT FIVE
      (Theft of Government Funds - MARTIN HANDLER, WERCZBERGER)

               30 .    The        Grand     Jury        incorporates           the     allegations

contained in paragraphs                   1 through 13 ,         15 ,   21 ,    and 22     of      this

Indictment as though fully set forth herein .

               31 .    From at least in or about November 2019 , up to and

including in or about the present , in the Southern District of New

York and elsewhere , MARTIN HANDLER , the defendant , being an agent

of an organization ,              State ,     and local government ,             and an agency

thereof , to wit , an owner and employee of Daycare Provide·r-2 , that

received , in a one-year period , benefits in excess of $10 , 000 under

a   Federal     program involving              a    grant ,    contract ,       subsidy ,       loan ,

guarantee , insurance , and other form of Federal assistance , with

the   assistance        of     BEN    WERCZBERGER ,           the   defendant ,         embezzled ,

stole ,     obtained         by     fraud ,       and    otherwise        without        authority

knowingly converted to the use of a person other than the rightful

owner and intentionally misapplied ,                         property that is valued at

$5 , 000 and more and is owned by and is owned by ,                                  and under the

care , custody , and control of such organization , government , and

agency ,     to wit ,        MARTIN    HANDLER ,        in his      capacity as         owner      and

employee of Daycare Provider - 2 , embezzled and stole from Daycare

Provider - 2 by        (a)     funneling       to WERCZBERGER ,           until       in or about

November      2021 ,    monthly        payments         of    approximately           $118 , 050     of

funding      originating           from     HHS    to    Daycare        Provider - 2     that      was

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intended to provide childcare services to low- income children in

the Bronx but instead was used by MARTIN HANDLER to repay a debt

to WERCZBERGER ;           (b)   providing WERCZBERGER ' s wife with a no - show

job and annual salary of approximately $55,000 at Daycare Provider-

2   between     in    or     about     May    2020    and        in   or    about       the   present ;

(c) providing WERCZBERGER ' s grandson with a no-show job and annual

salary of approximately $35 , 000 between in or about August 2021

and in or about the present ; and (d) having Daycare Provider - 2 pay

for a luxury sport utility vehicle for WERCZBERGER ' s wife.

      (Title 18 , United States Code , Sections 666(a) (1) (A) and 2 . )

                                COUNT SIX
        (Conspiracy to Connnit Money Laundering - MARTIN HANDLER,
                               WERCZBERGER)

        The Grand Jury further charges:

               32.     The       Grand       Jury     incorporates                the    allegations

contained in paragraphs                  1   through      13 ,    15 ,     21 ,    and 22     of    this

Indictment as though fully set forth herein .

               33.     From at least in or about November 2019, up to and

including in or about the present , in the Southern District of New

York     and   elsewhere ,        MARTIN       HANDLER       and         BEN      WERCZBERGER,       the

defendants ,         and    others       known      and    unknown,            intentionally         and

knowingly did combine , conspire , confederate,                                and agree together

and    with    each    other      to     violate      Title       18,      United States           Code ,

Sections 1956 (a) (1) (B) (i) and 1957 (a ) .


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             34 .    It was a part and an object of the conspiracy that

MARTIN HANDLER and BEN· WERCZBERGER ,                       the defendants ,         and others

known and unknown , in an off~nse in and affecting interstate and

foreign commerce , knowing that the property involved in a financial

transaction ,       to    wit ,   one   or    more       wire     transfers         and     checks ,

represented the proceeds of some form of unlawful activity , would

and did conduct and attempt to conduct such a financial transaction

which in fact involved the proceeds of specified unlawful activity ,

to wit ,   the federal program theft alleged in Count Five of this

Indictment , knowing that the transaction was designed in whole and

in part    to    conceal      and disguise            the   nature ,       the    location ,     the

source ,   the      ownership ,      and     the      control ,       of    the     proceeds      of

specified unlawful           activity ,      in       violation       of   Title     18 ,    United

States Code , Section 1956(a) (1) (B) (i)

             35 .    It     was   further         a    part     and    an        object     of   the

conspiracy       that       MARTIN      HANDLER         and     BEN        WERCZBERGER ,         the

defendants , and others known and unknown , within the United States ,

would and did knowingly engage and attempt to engage in a monetary

transaction in criminally derived property of a value greater than

$10 , 000 and is derived from specified unlawful activity , to wit ,

the federal program theft alleged in Count Five of this Indictment ,

in violation of Title 18 , United States Code , Section 1957(a)

           (Title 18 , United States Code , Section 1956(h) .)


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                               COUNT SEVEN
               {Theft of Government Funds - MARTIN HANDLER)

              36 .   The   Grand       Jury        incorporates             the    allegations

contained     in paragraphs        1   through       13 ,    15 ,    21 ,    and   22   of    this

Indictment as though fully set forth herein .

              37 .   From at least in or about November 2019 , up to and

including in or about t h e present , in the Southern District of New

York and elsewhere , MARTIN HANDLER , the defendant , being an agent

of an organization ,        State ,    and local government ,                 and an agency

thereof , to wit , an owner and employee of Daycare Provider-2 , that

received , in a one - year period , benefits in excess of $10 , 000 under

a   Federal    program involving         a     grant ,       contract ,      subsidy ,       loan ,

guarantee ,     insurance ,    and      other       form      of     Federal       assistance ,

embezzled ,     stole ,    obtained      by        fraud ,     and     otherwise        without

authority knowingly converted to the use of a person other than

the rightful owner and intentionally misapplied , property that is

valued at $5 , 000 and more and is owned by and is under the care ,

custody , and control of such organization , government , and agency ,

to wit , MARTIN HANDLER , in his capacity as owner and employee of

Daycare   Provider - 2 ,   sto l e     from    a    bank account held by                 Daycare

Provider - 2 used to fund Daycare Provider - 2 ' s operating expenses ,

and then used the stolen proceeds to (a) purchase real estate for

MARTIN HANDLER ' s personal and private benefit ;                      (b) repay a loan of




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approximately           $500 , 000   to   a    business        associate ;    (c)   purchase

historical items at auc ti on ; and (d) purchase a luxury vehicle .

      (Title 18 , United States Code , Sections 666(a) (1) (A) and 2 . )

                                FORFEITURE ALLEGATIONS

              38 .      As a result of committing the offense alleged in

Count One of this Indictment , MARTIN HANDLER , MENACHEM LIEBERMAN ,

HAROLD     SCHWARTZ ,        and     ISIDORE     HANDLER ,      the    defendants ,    shall

forfeit     to    the    United States ,        pursuant        to    United States    Code ,

Sections 981 (a) (1) (C)           and 982 (a) (2) ,     any and all property ,         real

and    personal ,       which      constitutes      or    is     derived     from   proceeds

traceable to the commission of said offense ,                           including but not

limited to a sum of money in United States currency representing

the amount of proceeds traceable to the commission of said offense .

              39 .      As a result of committing the offense alleged in

Count Five of this Indictment , MARTIN HANDLER and BEN WERCZBERGER ,

the defendants ,          shall forfeit to the United States ,                 pursuant to

Title 18 ,       United States Code ,          Section 981(a) (1) (C)         and Title 28

United States Code ,            Section 2461(c) ,        any and all property ,         real

and     personal ,       that      constitutes      or   is     derived      from   proceeds

traceable to the commission of said offenses ,                          including but not

limited to a sum of money in United States currency representing

the amount of proceeds traceable to the commission of said offense .

              40 .      As a result of committing the offense alleged in

Count Six of this Indictment , MARTIN HANDLER and BEN WERCZBERGER ,
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the defendants ,          shall forfeit to the United States ,                pursuant to

Title     18 ,    United       States   Code ,    Section     982 (a) (1) ,   any    and    all

property ,       real     and personal ,         involved   in said offense ,         or    any

property traceable to such property , including but not limited to

a sum of money in United States currency representing the amount

of property involved in said offense .

                 41 .    As a result of committing the offense alleged in

Count Seven of this               Indictment ,        MARTIN HANDLER ,    the defendant ,

shal l   forfeit to the United States , pursuant to Title 18 , United

States Code , Section 981 (a) (1) (C) and Tit l e 28 United States Code ,

Section 2461 (c) ,            any and all property ,         real and personal ,           that

constitutes or is derived from proceeds traceable to the commission

of said of f ense ,           including but not limited to a sum of money in

United      States        currency      representing        the   amount      of    proceeds

traceable        to     the   commission of said offense             and the        following

specific property :

                         a.     The real property and premises located at 98

Locust Street , Wurtsboro , New York , 12733 .

                         b.     The real property and premises located at 2128

Ocean Avenue , Units CF and P27 , Brooklyn , New York , 11229.

                         c.     The real property and premises located at 2734

Victory Boulevard , Staten Island , New York , 103 1 4 .

                         d.     The real property and premises located at 19

Sterling Forest Lane , Suffern , New York , 10901.
                                                 18
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                     e.     The real property and premises located at 42

Bayard Lane , Suffern , New York , 10901 .

                     f .    The     real   property         and       premises   located       at

10350 West Bay Harbor Drive , Unit 7TU , Bay Harbor Island , Florida ,

33154 .

                     g.     The real property and premises located at 3637

Indian Creek Drive , Unit 404 , Miami Beach , Florida , 33140 .

                     h.     The     item   descr i bed       as       " Autograph     of    Harav

Michel Sheier ,      Av Beis Din of Mannheim and Rebbi of the Chasam

Sofer ."

                     i .    The     i tern described        as    "Rabbi     Aki va      Eiger ' s

Personal Copy of Maseches Megillah ."

                     j .    The i tem described as " Responsa by the Ben Ish

Chai Regarding Betrothing a Maiden under the Age of 12.                                     Large

Booklet .     Baghdad , 1891 ."

                     k.     The     item      described          as     " Long   Handwritten

Kuntress     by    Harav    Shlomo     Zalman        Auerbach :        Practical         Halachos

Regarding Entry of Kohanim to Hospitals."

                     l .    The item described as " Kabbalistic Haggadah by

the   famed       Kabbalist    Harav       Nasson      Shapira ,        Author      of     Matzas

Shimurim .     Italy , 18 century ."

                     m.     The item described as "S eder Brachos - Order

of    Blessings       for     the     whole        year ,    with        illumination         and


                                              19
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instructions.     Printed by members of the Guild of Silk-Weavers.

Bologna, Italy 1537."

                  n.     The item described as "Autographed Teshuvah by

Harav Shlomo Zalman Auerbach Regarding Eating the Afikoman."

                        Substitute Assets Provision

           42.    If any of the above~described forfeitable property,

as a result of any act or omission of the defendants:                    (a)   cannot

be   located   upon    the   exercise    of     due   diligence;   (b)    has    been

transferred or sold to, or deposited with, a third person;                     (c) has

been placed beyond the jurisdiction of the Court;                  (d)     has been

substantially diminished in value; or (e) has been commingled with

other property which cannot be subdivided without difficulty; it

is the intent of the United States, pursuant to Title 21, United

States Code,     Section     853 (p)    and Title 28,      United States Code,

Section 2461(c),       to seek forfeiture of any other property of the

defendants up to the value of the above forfeitable property.

            (Title 18, United States Code, Section 982;
          Title 21, United States Code, Section 853; and
           Title 28, United States Code, Section 2461.)




                                              DAMIAN WILLIAMS
                                              United States Attorney




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               UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK


                 UNITED STATES OF AMERICA

                           - v. -

                      MARTIN HANDLER ,
                    MENACHEM LIEBERMAN ,
                      HAROLD SCHWARTZ ,
                   ISIDORE HANDLER , and
                      BEN WERCZBERGER ,

                        Defendants .


                     SEALED INDICTMENT

                           23 Cr.


                (18 U. S . C . §§ 1349 , 1028A ,
           666(a)(l)(A) , 371 , 1956(h) , and 2 . )

                                Damian Williams
                          United States Attorney


                        A TRUE BILL



                   ~reperson .


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